
In re Trudell, Mikell; — Plaintiff(s); applying for supervisory and/or remedial writ; to the Court of Appeal, Third Circuit, No. KW94-0643; Parish of Rapides, 9th Judicial District Court, Div. “E”, No. 120453.
Relator represents that the district court has failed to act timely on a motion to correct an illegal sentence he filed on or about August 31, 1993, and which was redirected to Section E on November 12, 1993. If relator’s representation is correct, the district court is ordered to consider and act on the motion. If relator’s representation is incorrect, the district court is ordered to accept, file, and act upon the pleading which is herewith transferred to the district court. The district court is ordered to provide this Court with a copy of its judgment.
DENNIS, J., not on panel.
